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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF IOWA
CEDAR RAPIDS DIVISION

PATRICK JAMES, SR.,

Plaintiff, No. 15 cv 62 EJM
VS.
GRANT RASMUSSEN and BRUCE ORDER
PAYNE,

Defendants.

Before the court is defendant police officers’ resisted motion to correct and
reconsider the court’s Order of July 16, 2016 (Order), filed July 27, 2016. Denied.

The Order granted in part and denied in part defendants’ motion for summary
judgment. The court construed the record in the light most favorable to the resisting
party as it must for the limited purposes of the summary judgment motion, Matsushita

Flec. v. Zenith Radio, 475 U.S. 574 (1986); Sprenger v. Fed. Home Loan Bank, 253 F.3d

1106, 1110 (8'" Cir. 2001.) In this context, the court found that there was some evidence
that the police officers had access to information on the subject of the warrant, Patrick
James, Jr., which if fully considered might have avoided the mistaken identity that led to
the arrest and handcuffing of Patrick James, Sr. The court referred to evidence that
included the subject’s name (Patrick James, Jr.), age, description, and picture, which
were all different from that of Patrick James, Sr., the person actually arrested.

Defendants now state that in fact there was a picture, but that it was not included in the

Case 1:15-cv-00062-JSS Document 23 _ Filed 08/03/16 Page1of2
warrant. Plaintiff contends it was or might have been available on the in-car computer
system. See pp. 2, 4 of Brief; p. 1 of Resistance brief; Rassmussen Dep. 30:16-31:11;
Dep. Ex. 1, pp. 2-3. It matters not for purposes of the partial denial of the summary
judgment motion. There is clearly a question of material fact here. In addition, with or
without a picture accompanying the warrant, there is sufficient evidence on both sides of
the question of whether the officers acted reasonably in accessing all available
information and properly reviewing the warrant before deciding to arrest Patrick James
Sr., to deny defendants’ summary judgment motion in that regard and proceed to trial on
this question. All facts concerning what information the police officers had access to,
what information they actually reviewed, the circumstances surrounding the arrest and
handcuffing of plaintiff, and whether excessive force was used, shall be determined at
trial.

It is therefore

ORDERED

Denied.

August 3, 2016

Edward J; McManus, Judge
UNITED STATES DISTRICT COURT

Case 1:15-cv-00062-JSS Document23 Filed 08/03/16 Page 2of2
